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                        1IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

                Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                             MOTION FOR PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion for Permission to Travel during the

following days in September:

       1.       From September 6 to September 8, 2019, to Stamford, Connecticut, located in the

United States District of Connecticut, for a family reunion;

       2.       From September 12 to September 14, 2019, to Buffalo, New York, located in the

United States District for the Western District of New York, for employment opportunities;

       3.       From September 19 to September 24, 2019, to California for employment

opportunities. Specifically he is seeking permission to travel:

                    a) September 19 to September 20, 2019, to Los Angeles, California, located
                       within the United States District for the Central District of California;

                    b) September 21, 2019, to Tarzana, California, located within the United States
                       District for the Central District of California;

                    c) September 22, 2019, to Encinitas, California, located within the United
                       States District for the Southern District of California; and

                    d) September 23, 2019, to Woodland Hills, California, located within the
                       United States District for the Central District of California.

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       Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling. Mr. Stone has provided Pretrial Services with the requested detailed

documentation and will contact his Officer upon his return. The Government has been has also

been contacted and has no objection to the relief sought.

        Mr. Stone respectfully requests that this Court grant this motion for permission to travel

and allow Mr. Stone to travel to the United States Districts during the dates outlined above.



                                                  Respectfully submitted,
                                                  By: /s/___________________
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on ________, I electronically filed the foregoing with the Clerk

of Court using CM/ECF. I also certify that the foregoing is being served this day on all counsel

of record or pro se parties, via transmission of Notices of Electronic Filing generated by CM/ECF.

     United States Attorney’s Office for the                Pretrial Services (via email)
             District of Columbia
                                                    CHRISTINE SCHUCK
 JESSIE K. LIU                                      PRETRIAL SERVICES OFFICER
 United States Attorney                             US District Court Unit
 JONATHAN KRAVIS                                    Pretrial Services Agency for the District of
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                                                      By: /s/ Chandler Routman
                                                      CHANDLER ROUTMAN




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

                 Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/
                                             ORDER

        Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion to Travel [Dkt.

# ___], the motion is GRANTED.

       It is ORDERED that the defendant may travel to:

            1.   Stamford, Connecticut from September 6 to September 8, 2019;
            2.   Buffalo, New York, from September 12 to September 14, 2019;
            3.   Los Angeles California from September 19 to September 20, 2019;
            4.   Tarzana, California on September 21, 2019;
            5.   Encinitas, California on September 22, 2019;
            6.   Woodland Hills, California on September 23, 2019.

       Defendant shall provide Pretrial Services with a copy of this Order and his specific travel

itinerary for the trip prior to his departure from the Southern District of Florida. Defendant may

not travel to any location aside from that set out above and must contact Pretrial Services within

the first business day by telephone upon his return.

       SO ORDERED.

                                                          _______________________________
                                                          AMY BERMAN JACKSON
                                                          United States District Judge
cc:    all counsel of record
